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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


THOMAS ROSSLEY, JR.                                Civ. No. 4:16-cv-00623-RGE-SBJ

       Plaintiff,

vs.

DRAKE UNIVERSITY, DRAKE                            NOTICE OF APPEAL
UNIVERSITY BOARD OF TRUSTEES,

       Defendants.


       NOTICE is hereby given that Thomas Rossley Jr., Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Eighth Circuit from the Order re

Defendants’ Motion for Summary Judgment that is dated and entered on the 12th day of October

2018 and that is Exhibit A hereto), which Order constituted a final judgment given the

Stipulation of Dismissal that is attached as Exhibit B hereto.

Dated: October 22, 2018
                                              Respectfully submitted,

/s/ David H. Goldman                          /s/Philip A. Byler
David H. Goldman                              Philip A. Byler (pro hac vice)
Philip F. Van Liew                            Andrew T. Miltenberg (pro hac vice)
BABICH GOLDMAN, P.C.                          NESNOFF & MILTENBERG, LLP
501 S.W. 7th Street, Suite J                  363 Seventh Avenue, Fifth Floor
Des Moines, Iowa 50309                        New York, New York 10001
Telephone: (515) 244-4300                     Telephone: (212) 736-4500
Email: dgoldman@babichgoldman.com             Email: PByler@nmllplaw.com
Email: pvanliew@babichgoldman.com             Email: AMiltenberg@nmllplaw.com


                                              ATTORNEYS FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2018, a copy of the foregoing was filed electronically

with this Court. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing

through the Court’s system.

NYEMASTER GOODE P.C.                                NYEMASTER GOODE P.C.
Frank Boyd Harty, Esq.                              Frances M. Haas, Esq.
Mary E. Funk, Esq.                                  625 First Street SE – Suite 400
700 Walnut Street – Suite 1600                      Cedar Rapids, Iowa 52401
Des Moines, Iowa 50309                              Telephone: 319.286.7000
Telephone: 515.283.3100                             Facsimile: 319.286.7050
Facsimile: 515.283.8045                             fmhaas@nyemaster.com
E-Mail: fharty@nyemaster.com
        mef@nyemaster.com


                                            ___/s/_Philip A. Byler, Esq.______
                                                    Philip A. Byler, Esq.
